AO 106 (Rev. 14/OASOlicBihIaMjrQO4G9:MIN Doc #: 1 Filed: 08/08/19 Page: 1 of 5 PAGEID #: 1

 

 

UNITED STATES DISTRICT Cou RT

for the

Southern District of Ohio

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In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Priority Matt Package Tracking Number 9505513191 189217581591,
postmarked August 5, 2019, weighing 2 pounds % ounces addressed to JON
RickmAN 2671 W. US RT 22 EASt 3 Let 8 WiliNgtoN Oh 45177 with a return
address of RON JohNsoN 11650 N. E. MARX ST PoRtlANd OR. 97220.

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APPLICATION FOR A SEARCH WARRANT?”

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that | have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

Priority Mail Package Tracking Number 9505513191189217581591

located inthe = Southern District of Ohio , there is now concealed (identify the
person or describe the property to be seized):
Controlled Substances, rnateriais and documents reflecting the distribution of controlled substances through

the U.S. Mails, including money and/or monetary instrumernis paid for controlled substances

The basis for the search under Fed. R. Crim. P. 41(c) ts (check one or more):

 

! evidence of a crime:

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[<} contraband, fruits of crime, or other items illegally possessed;

["} property designed for use, intended for use, or used in committing a crime;
("i a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of: Title 2}

Code Section Offense Description
841 (a} (4), 843 (b} & B46 Possession with intent to distribute a controlled substance
Use of communication facility to commit felony
Conspiracy to distribute a controlled substance
The application is based on these facts:

See attached affidavit of U.S. Postal Inspector Rassiter

Continued on the attached sheet.

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[| Delayed notice days (give exact ending date if more than 30 days: } is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

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AERP RES 8 ignature

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Sworn to before me and signed in my presence.

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. . omnora Mi
City and state: Dayton, Ohio “None : te

United States Magists ate ae
Printed name and title
Case: 3:19-mj-00469-MJN Doc #: 1 Filed: 08/08/19 Page: 2 of 5 PAGEID #: 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
DAYTON, GHIO

STATE OF OHIO

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COUNTY OF MONTGOMERY

AFFIDAVIT IN SUPPORT GF SEARCH WARRANT

i, JOSEPH ROSSITER, HAVING BEEN DULY SWORN, DEPOSE AND STATE: | arm a United States
Pastel inspector anc have bean since May 2016. | arn presently assigned to the Cincinnati Fisid Office of
the United States Postal Inspection Service, Pittsburgh Division, with investigative responsibility for
southeast indiana and southern Ohio. Part of my responsibility involves investigating the use of the United
States Mail in the transportation of narcotics, other darigerous controlled substances, and financial
nroceecs from, or instrumentalities used in, the sale of such nareetics and controlled substances

(hereinafter, “Drugs and/or Proceeds’).

Based on my training and experience as a United States Postal Inspector, | have become aware that drug
traffickers frequently use United States Pricrity Mail Express (overnight) or Priority Mail (2-3-cay} to
transport Drugs anc/or Proceeds. Ardditionally, as @ result of prior investigations and successfu!
controlied-substance prosecutions invelving the use of the United States Mai, | have learned of certain
characteristics and/or circumstances indicating that a package ray contain Drugs and/or Proceeds.
These circumstances andor characteristics include, hut are not necessary limited to, the following: the
mailer uses different post offices on the sarne day to send packages, the return address is false or non-
existent, the addressee is not known to receive mail ai the listed delivery address, the package is heavily
taped, the package is mailed frorn a known drug source location, the labeling information contains
misspellings, the label contains an illegible waiver signature, unusual ocors are emanating fram the

package, and the listed address is located in an area of known of suspected crug activity.
Case: 3:19-mj-00469-MJN Doc #: 1 Filed: 08/08/19 Page: 3 of 5 PAGEID #: 3

On August 7, 2079, | intercepted a package (hereinafter, the “Package’) at the Wilmingten, OH Post
Office in Wilmington, QOH. The Package is a Priority Mail box, bearing tracking number $505 $121 9178
9217 5815 91 weighing 2 pounds 9 ounces, postmarked August 5, 2019, with the following address

information:

Sender: RON JohNso
11650 NE. MARX ST
PoRHANd OF 97220
Addresses: JON RickimAN
2671 \W.US RT 22 EASt 3
Lot 8
WHINgtoN Oh 45177

Through training and experience, | am aware that Northern Oregon is 2 known drug source location.

i did a check in CLEAR of the acdressee’s information on ihe Package JON RickmAN 2671 W. US RT 22
EASt 3 Lot @ WilINgiON of 45777. CLEAR is a law enforcement database that is used as a tool for
investigators to identify person/business anc address information. According to CLEAR, there is no “Jon

Rickman’ associated with 2871 W. US 22 East 3 Lot 8, Wilmington, OH 45177.

{also did a check in CLEAR of the sender's informettion on the Package of RON JohNsoN 17650 N. E.
MARX ST PoRHtANd OR. 97220. According to CLEAR, there is no “Ron Johnson” associated with 11650

NE Marx St, Porland, OR G?722C.

Later on August 7, 2079, at my request, Montgomery County Sheriffs Office Detective Anthony Hutson
conducted a narcotics-detection canine check of the Package. | was present for the check. The Package
was placed in a controlled area and presented to narcotics-detection canine, “Gunner.” As set forth in the
attached affidavit of Detective Hutson, “Gunner” alerted positively to the presence or odor of & narcotic or

other controlled substance.
Case: 3:19-mj-00469-MJN Doc #: 1 Filed: 08/08/19 Page: 4 of 5 PAGEID #: 4

Based on my training and experience as a United States Postal Inspector, the Package’s address

uforrnation, inciuding (i) absence of a known association between the sender and the return actress,

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absence of known association between the addressee and the recipient address, and (iii) the positive alert

of the narcotics-detection canine are indicative of Drugs and/or Proceeds in the package.
Therefore, a search warrant to open the Package is requested.

Further, your affiant sayeth naug

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Postal ey ator

     
 

Subscribed and sworn to-and be ne this + day of v4y5 , 2049.

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Honorable Michael J. Newman: .~.
United States Magistrate Judge =
Case: 3:19-mj-00469-MJN Doc #: 1 Filed: 08/08/19 Page: 5 of 5 PAGEID #: 5

| UNITED STATES POSTAL INSPECTION SERVICE

 

{ ; PITTSBURGH DIVISION

 

OFFICER AFFIDAVIT

|, Officer ANTHONY HUTSON, arm and have been ernployed by the MONTGOMERY
COUNTY SHERIFF'S OFFICE since 1988. Among other duties, | am currently the
assigned handier of narcotics detection canine "GUNNER" which is trained and certified in
the detection of the presence or ocior of narcotics described as follows:

Marijuana, Cocaine, Methamphetamine, and Heroin

On ELTNIF , at the request of Postal inspector ROSSITER, | responded to the

DAYTON P&DC, where “GUNNER* did alert to and indicate upon: [describe item]

GLOE 513) GWE GEIZ EBIE9/
Ron Johtsoa! JO Ricky Au
NOLO ME. MARX St A671 VL USRT 22 ENS¢ FL 8
PoR+ban. OR. 47230 Wily ton) Oh W512)

Which, based upon my training and experience and that of “GUNNER, indicates there is
contained within or upon the above described item, ihe presence or oder of a narcotic or

other conirolled substance.

oo YY ror B71H

(Signature, BedaQ A and Date)

Yi f! 2/9

(vy ness/Date)

Cincinnati Field Office

895 Central Avenue STE 400
Cincinnati, OH 45202-5748
Telephone: 877-676-2455
FAX: 513-664-8009
